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     Nisha_Brooks-Whittington@fd.org
 6   Attorney for Terry Rawstern

 7
                                 UNITED STATES DISTRICT COURT
 8
                                       DISTRICT OF NEVADA
 9
10   UNITED STATES OF AMERICA,                               Case No. 2:14-cr-315-JCM-VCF-2

11                  Plaintiff,                               STIPULATION TO CONTINUE
                                                               SENTENCING HEARING
12          v.
                                                                   (Third Request)
13   TERRY RAWSTERN,

14                  Defendant.

15
16          IT IS HEREBY STIPULATED AND AGREED, by and between Dayle Elieson,
17   United States Attorney, and Kathryn C. Newman, Assistant United States Attorney, counsel for
18   the United States of America, and Rene L. Valladares, Federal Public Defender, and
19   Nisha Brooks-Whittington, Assistant Federal Public Defender, counsel for Terry Rawstern, that
20   the Sentencing Hearing currently scheduled on June 11, 2018 at 10:00 a.m., be vacated and
21   continued to a date and time convenient to the Court, but no earlier than ninety (90) days.
22          This Stipulation is entered into for the following reasons:
23          1.      Undersigned counsel needs additional time to prepare the sentencing
24   memorandum.       Additionally, Mr. Rawstern has had four surgical procedures since
25   December 5, 2017. Ex. A. His last surgical procedure was performed on April 5, 2018. Id.
26   Mr. Rawstern suffered some “significant complications from the anesthesia used for th[e]
      Case 2:14-cr-00315-JCM-VCF            Document 110         Filed 06/06/18      Page 2 of 3




 1   procedure, which resulted in him losing consciousness and falling in his basement several times.
 2   During one of these falls some significant muscle damage occurred.” Id. Mr. Rawstern was
 3   recently brought to the emergency room and admitted due to his inability to stand or maintain
 4   his balance. Id. While in the hospital, Mr. Rawstern fell resulting in 12 sutures to his head. Id.
 5   According to Mr. Rawstern’s doctor, he is suffering from “significant medical issues and
 6   concerns that are being addressed, evaluated, and worked up.” Id. As a result, Mr. Rawstern’s
 7   doctor advises that travel is extremely difficult for him at this time. A continuance is requested
 8   to allow Mr. Rawstern time to be evaluated and to recover from his recent medical issues before
 9   traveling to Las Vegas for his sentencing hearing.
10          2.      The defendant is not in custody and does not oppose a continuance.
11          3.      The parties agree to the continuance.
12          This is the third request for a continuance of the sentencing hearing.
13          DATED this 4th day of June, 2018.
14
15    RENE L. VALLADARES                               DAYLE ELIESON
      Federal Public Defender                          United States Attorney
16
17        /s/ Nisha Brooks-Whittington                     /s/ Kathryn C. Newman
      By_____________________________                  By_____________________________
18    NISHA BROOKS-WHITTINGTON                         KATHRYN C. NEWMAN
      Assistant Federal Public Defender                Assistant United States Attorney
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 1                             UNITED STATES DISTRICT COURT

 2                                 DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:14-cr-315-JCM-VCF-2
 4
                  Plaintiff,                                        ORDER
 5
            v.
 6
     TERRY RAWSTERN,
 7
                  Defendant.
 8
 9
10          IT IS ORDERED that the sentencing hearing currently scheduled for Monday, June

11   11, 2018 at 10:00 a.m., be vacated and continued to Monday, September 10, 2018 at 10:00

12   a.m.

13          DATED this
                  June _______ day of June, 2018.
                         6, 2018.

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                                              UNITED STATES DISTRICT JUDGE
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